

Matter of Howell v Martuscello (2017 NY Slip Op 08567)





Matter of Howell v Martuscello


2017 NY Slip Op 08567


Decided on December 7, 2017


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 7, 2017

524392

[*1]In the Matter of JEROME HOWELL, Appellant,
vDANIEL MARTUSCELLO, as Superintendent of Coxsackie Correctional Facility, et al., Respondents.

Calendar Date: October 24, 2017

Before: McCarthy, J.P., Egan Jr., Rose, Clark and Pritzker, JJ.


Jerome Howell, Attica, appellant pro se.
Eric T. Schneiderman, Attorney General, Albany (Joseph M. Spadola of counsel), for respondents.



MEMORANDUM AND ORDER
Appeal from a judgment of the Supreme Court (Hartman, J.), entered August 19, 2016 in Albany County, which, in a proceeding pursuant to CPLR article 78, granted respondents' motion to dismiss the petition.
Judgment affirmed. No opinion.
McCarthy, J.P., Egan Jr., Rose, Clark and Pritzker, JJ., concur.
ORDERED that the judgment is affirmed, without costs.








